       Case 2:21-cv-01291-AMM Document 10 Filed 10/06/21 Page 1 of 2                      FILED
                                                                                 2021 Oct-06 PM 03:13
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

 BOBBY SINGLETON, et al.,               )
                                        )
      Plaintiffs,                       )
                                        )
 v.                                     )
                                               Case No.: 2:21-cv-1291-AMM
                                        )
 JOHN H. MERRILL, in his                )
 official capacity as Alabama           )
 Secretary of State,                    )
                                        )
      Defendant.                        )

                                     ORDER

      This case is before the court on Plaintiffs’ motion to expedite the appointment

of a three-judge panel pursuant to 28 U.S.C. § 2284(a). Doc. 7. In their complaint,

Plaintiffs request that a three-judge panel be convened and that the court enter a

judgment declaring “that Alabama’s current Congressional redistricting plan,

enacted in 2011, Act No. 2011-518, is malapportioned and racially gerrymandered,

in violation of Article I, § 2 and the Equal Protection Clause of the Fourteenth

Amendment of the Constitution of the United States.” Doc. 1 at 35-36. The court

finds that this action “challeng[es] the constitutionality of the apportionment of

congressional districts.” 28 U.S.C. § 2284(a). Accordingly, the Clerk of Court is

DIRECTED to transmit this order and a copy of the complaint and the motion to
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expedite to the Chief Judge of the United States Court of Appeals for the Eleventh

Circuit.

      DONE and ORDERED this 6th day of October, 2021.



                                    _________________________________
                                    ANNA M. MANASCO
                                    UNITED STATES DISTRICT JUDGE
